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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

 UNITED STATES OF AMERICA,                   )
                                             )
                              Plaintiff,     )
                                             )
 v.                                          )                      1:09-CR-03601-MV
                                             )
 NICHOLOUS PHILLIPS,                         )
                                             )
                              Defendant.     )

                         MOTION TO WITHDRAW AS COUNSEL

        AEQUITAS LAW OF NEW MEXICO, LLC (David Z. Ring), hereby notifies the Court

that it was retained for the limited purpose of representing Defendant Nicholous Phillips to

answer allegations in a prior Petition for Revocation of Supervised Release (Doc. 58), which

were effectively resolved at a hearing on September 3, 2019; and moves the Court to permit its

official withdrawal as counsel under local rule of criminal procedure, D.N.M. LR-Cr 44.1(f). It

has not been retained for new proceedings initiated by the Government, for which the Office of

the Federal Public Defender (Kari Converse) has entered its appearance. Since the undersigned

have not represented Defendant as counsel of record in several months, a position was not

sought from the Government, which normally takes no position on defense motions to withdraw

as counsel.

                                                     Respectfully Submitted,
                                                     AEQUITAS LAW OF NEW MEXICO,
                                                     LLC

                                                     “Electronically Filed”
                                                     /s/ David Z. Ring
                                                     Previous Attorney for Defendant
                                                     5901 Wyoming Blvd NE Suite J-300
                                                     Albuquerque, NM 87109
                                                     (505) 263-8929
                                                     dave@aequitas.pro
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                               CERTIFICATE OF SERVICE

Undersigned counsel certifies that a true and correct copy of the foregoing document was
electronically delivered to AUSA Jaymie L. Roybal and Federal Defender Kari Converse via the
CM/ECF electronic filing and delivery system on the date indicated in the court-affixed header.
A copy will be delivered to Defendant via U.S. Mail.

“Electronically Filed”
/s/ David Z. Ring
Previous Attorney for Defendant
